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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

KRISHNA PRASAD ADHIKARI, et al.,                     )
                                                     )
                Movants,                             ) Civil Action No. 1:20-mc-29-CKK
                                                     )
v.                                                   )
                                                     )
HALLIBURTON COMPANY, et al.,                         )
                                                     )
                Respondents.                         )
                                                     )


                                         STATUS REPORT


        Plaintiffs submit this status report on behalf of both parties pursuant to this Court’s Order

of July 1, 2020, directing the parties to indicate if a further stay is necessary or if the matter has

been resolved. Counsel for Respondents has reviewed and approved of this report. The parties

report that a further stay is warranted.1

        This miscellaneous action is a motion to enforce two third-party subpoenas. After the

Plaintiffs filed the present motion to compel, Respondents Halliburton Company and Halliburton

Energy Service, Inc. (collectively “Halliburton”) contacted Plaintiffs and expressed their

intention to voluntarily comply with the subpoenas.




        1
          Halliburton has advised Plaintiffs that it does not believe this Court is the correct forum
to adjudicate any disputes that might arise regarding the subpoena, but as noted below, both parties
are working diligently to address the subpoena. For that reason, Halliburton does not wish to
burden the Court with jurisdictional matters while the parties work together to resolve the
subpoena. Plaintiffs disagree with Halliburton’s position on venue, as previously articulated to the
Court. See Dkt. 3. But Plaintiffs agree with Halliburton that this issue should not be adjudicated at
this time as the parties are working cooperatively towards resolution.
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       Plaintiffs and Halliburton have worked diligently to identify and compile material

potentially responsive to the subpoena and to resolve issues between them. The parties have done

so notwithstanding that Halliburton has not owned the business and employees relevant to the

subpoena for approximately 14 years, and notwithstanding that the parties have been dislocated

and faced other challenges operating in a COVID-19 environment. For example, Plaintiffs have

identified former Halliburton employees and Halliburton offices relevant to their requests for

production. Plaintiffs have also suggested search-terms Halliburton could use to search for

electronically stored information (“ESI”), and they have provided Halliburton with a list of

relevant congressional hearings that Halliburton’s D.C.-based government affairs office was likely

involved with, in order to facilitate Halliburton’s search for documents relating to these hearings.

       Halliburton has determined it does not have ESI from the relevant employees Plaintiffs

identified. Halliburton is currently in the process of identifying other potential custodians from

the relevant offices, including its government-affairs office, and it is ascertaining whether any

ESI from those custodians exists. Halliburton is also in the process of searching for hard copy

documents, including documents related to the congressional hearings identified by Plaintiffs.

Halliburton needs more time to complete these tasks.

        The parties continue to believe they will resolve this matter without the Court’s

intervention, so they respectfully request an additional 30 day stay.



Dated: August 31, 2020                                Respectfully Submitted,

                                                      /s/ Agnieszka M. Fryszman
                                                      Agnieszka M. Fryszman
                                                      Attorney in charge (# 459208)
                                                      Nicholas Jacques
                                                      COHEN MILSTEIN SELLERS &
                                                      TOLL PLLC

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                                  CERTIFICATE OF SERVICE


         I hereby certify that on August 31, 2020, I electronically filed the foregoing Status Report

with the Clerk of the Court using the ECF and that I sent the same to counsel for Halliburton

Company and Halliburton Energy Services, Inc., Gayle Littleton of Jenner & Block LLP via

electronic mail.



Dated:     August 31, 2020                             /s/ Agnieszka M. Fryszman
                                                       Agnieszka M. Fryszman
